
118 N.W.2d 316 (1962)
CHICAGO AND NORTH WESTERN RAILWAY COMPANY, a corporation, Petitioner,
v.
Bruce D. GILLIS as Commissioner of Revenue of the State of South Dakota et al., Respondents.
No. 10049.
Supreme Court of South Dakota.
December 7, 1962.
*317 M. T. Woods, Sioux Falls, for petitioner.
A. C. Miller, Atty. Gen., John P. Dewell, Asst. Atty. Gen., Joseph H. Bottum, III, Asst. Atty. Gen., Pierre, for respondents.
PER CURIAM.
This is a companion case to Chicago, Milwaukee, St. Paul and Pacific Railroad Company v. Gillis et al., S.D., 118 N.W. 2d 313. Application of the principles announced in that case to the fact situation here involved compels the conclusion that the writ must here be denied because petitioner has not shown that its operating properties have been assigned a taxable value in excess of 60% of their true and full value.
Accordingly the writ will be denied. No costs to be taxed.
All the Judges concur.
MANSON, Circuit Judge, sitting for SMITH, J., disqualified.
